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Case 2:04-cv-02198-BBD-dkv Document 33 Filed 06/02/05 Page 1 of 2 Page|D 33

UNITE]) STATES nlsTRlCT COURT REC'E|VED
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WESTERN I)IVISION 95 JUN '| PH 32 | |
t HOBEHT R. Dr ‘inOLlO
DIXIE E,LECTRICAL MANUFACTURING cOMPANY, ,CLERKI U_S_ gm m
W.r). oF mt MEMPr-ns
Plaintiff,
v. ' No. 04-2198 DV

FASTEEL CORPORATION d/b/a FOUNDATION
TECHNOLOGY, INC; RICHARD RUIZ, I,I,C;
AND RICHARD RUIZ, Individually,

Defendants.

 

FINAL JUDGMENT PURSUANT To RULE 58
oF 'rHE FEDERAL RULES OF cleL PRGCEDURE

  

 

This matter came to be heard upon Motion of plaintiff D`lxie E]eetrical Manufacturing
Company (“Dixie”) to enter a final judgment pursnant to Rule 58 of the Federai Rules of civil
Proeedure as to the defendant Foundation Technnlogy, Inc.

WHEREF(JRE, IT IS ORDF,RED as follows:

l. Final judgment is hereby entered against defendant Foundation Technology, Inc.

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in the amount 0f$230,479.1 1.

    
 

Date.

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June 7, 2005 to the parties listed

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 33 in
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Honorable Bernice Donald
US DISTRICT COURT

